           Case 2:06-cr-00455-WBS Document 79 Filed 06/18/08 Page 1 of 2


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 5
                        IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: Cr. S. 06-455
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,               ) STATUS CONFERENCE
10                                       )
          vs.                            ) DATE:   August 18, 2008
11                                       ) TIME:   8:30 a.m.
                                         ) COURT: Hon. William B. Shubb
12   KHANTHY VONGSEDONE, et. al.,        )
                                         )
13              Defendants
14

15

16        Defendants, Sue Her, by and through his undersigned counsel,
17   Shari Rusk, Khanthy Vongsedone, by and through his undersigned counsel
18   Chris Haydn-Myer and Tony Ketmany, by and through his undersigned
19   counsel, J. Toney and the United States, by and through Assistant
20   United States Attorney Jill Thomas, hereby agree and stipulate that
21   the status conference previously scheduled for June 16, 2008 be re-
22   scheduled for August 18, 2008.    The parties have received discovery
23   and are in the process of investigating and negotiating with the
24   government.    Additional time is needed for continued defense
25   preparation.    Therefore the parties request that the matter be placed
26   on calendar for a status conference on August 18, 2008 and that date
27   is available with the Court.
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              Case 2:06-cr-00455-WBS Document 79 Filed 06/18/08 Page 2 of 2



 1         All parties agree that time should be excluded up to and through

 2   August 18, 2008 under the Speedy Trial Act, pursuant to 18 U.S.C. §

 3   3161(h)(8)(B)(iv) and local code T4, to allow the defense sufficient

 4   time to prepare and investigate this matter.

 5   ///

 6   ///

 7
     Dated: June 12, 2008              Respectfully submitted,
 8

 9

10
                                         _/s/ Shari Rusk________
                                         Shari Rusk
11                                       Attorney for Defendant
                                         Sue Her
12

13                                       /s/ Chris Haydn-Myer
                                         Chris Haydn-Myer
14                                       Attorney for Defendant
                                         Khanthy Vongsedone
15

16                                       /s/ J. Toney____
                                         J. Toney
17                                       Attorney for Defendant
                                         Tony Ketmany
18
     Dated: August 18, 2008
19                                       /s/ Jill Thomas ____
                                         Jill Thomas
20
                                          Assistant United States Attorney
21

22
                               ORDER
23

24         It is so ordered.
25
     DATED:    June 13, 2008
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